     Case 2:13-cv-00776-RFB-NJK Document 423 Filed 10/15/20 Page 1 of 2



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 4                              UNITED STATES DISTRICT COURT
 5                                      DISTRICT OF NEVADA
 6                                                 ***
 7    RUSSELL ROAD FOOD AND BEVERAGE,                   Case No. 2:13-cv-00776-RFB-NJK
      LLC,
 8                                                                    ORDER
                         Plaintiff,
 9
             v.
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      MICHAEL GALAM et al.,
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                       Defendants.
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            On May 2, 2013, Plaintiff Russel Road Food and Beverage, LLC filed its Complaint against
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     Defendants. ECF No. 1. On May 10, 2013, this Court granted Plaintiff’s motion for temporary
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     restraining order and required Plaintiff to provide security for the temporary restraining order by
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     tendering $100 cash to the Clerk of the Court. ECF No. 29. Plaintiff submitted the cash deposit on
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     May 13, 2013. ECF No. 35. On May 22, 2013, this Court issued an order granting Plaintiff’s
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     motion for preliminary injunction and ordered that the $100 cash deposit Plaintiff previously made
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     for the temporary restraining order would remain in deposit with the Clerk of the Court as security
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     for the preliminary injunction pending the final disposition for the case. ECF No. 46. On February
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     10, 2014, this Court granted Defendants’ Motion to Vacate the Preliminary Injunction. ECF No.
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     127. On March 28, 2019, this Court granted Plaintiff’s stipulated voluntary dismissal and
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     instructed the Clerk of the Court to close this matter. ECF No. 419.
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     ///
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     Case 2:13-cv-00776-RFB-NJK Document 423 Filed 10/15/20 Page 2 of 2



 1          THEREFORE, IT IS ORDERED that the $100.00 bond, plus any accrued interest, be
 2   returned to the Legal Owner at
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                          Puoy K. Premsriut, Esq.
 4                        520 South Fourth Street, Second Floor
                          Las Vegas, NV 89101
 5
 6          DATED: October 15, 2020.
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 8                                                     _______________________________
                                                       RICHARD F. BOULWARE, II
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                                                       UNITED STATES DISTRICT JUDGE
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